                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA


    UNITED STATES OF AMERICA,

                       Plaintiff,

               v.

    TIMOTHY E. BECKETT,                   Case No. 3:02-cr-00007-SLG

                       Defendant.


           ORDER REGARDING MOTION FOR RECONSIDERATION
                    (COMPASSIONATE RELEASE)

       Before the Court at Docket 624 is defendant                      Motion for

Reconsideration. Mr. Beckett

      in which the Court denied Mr. Beckett    motion for compassionate release

without prejudice because

        and because Mr. Beckett, although obese and prediabetic, had not

presented information that he was particularly susceptible to a severe course of

COVID-19.     The Court concluded that M

             that he is otherwise relatively healthy and that the BOP medical staff




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      Mr. Beckett, who is housed at Fort Dix FCI in New Jersey, raises one issue

in his motion for reconsideration: That new COVID-19 cases have been reported

at Fort Dix FCI                              federal facility in the country.

I.    Applicable law

      Local Criminal Rule 47.1 permits reconsideration if the moving party shows



                                                      Mr. Beckett

                                                              motion for compassionate

release.4 The Court will reconsider its previous order and determine if modification

is warranted.

II.   Extraordinary and compelling reasons

      In order to grant compassionate release, a court must find that



           factors set forth in 18 U.S.C. § 3553(a) support a sentence reduction,

                                                                                issued




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      Mr. Beckett asserts that there are now twice as many Fort Dix FCI inmates

who have tested positive for COVID-19 than when he first moved for

compassionate release.6 When Mr. Beckett filed his motion for reconsideration,

Fort Dix FCI reported that 238 inmates tested positive.7 As of the date of this order,

Fort Dix FCI reports 724 inmates and 21 staff currently testing positive for COVID-

19, ranking it as the BOP prison with the highest number of cases at this time.8

      The overall number of COVID-19 cases reported in BOP facilities continues

to grow. However, a facility that at one point has a high number of cases may

manage to control its infection rate, while a facility with few cases may experience

a rapid outbreak.9 This means that, except in a rare situation, the Court does not

rely solely on a snapshot of COVID-19 numbers in any particular prison to

constitute                                                                         as

that number will likely change in the near future. Thus, the new information

presented by Mr. Beckett regarding the COVID-19 infection rate at Fort Dix FCI


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does not constitute an



III.     Section 3553(a) factors

         Even if the number of cases at Fort Dix FCI constituted an extraordinary and

compelling reason, the Court would still deny the motion for reconsideration

because the § 3553(a) factors do not support release in this case. In considering

a motion for compassionate release, the § 3553(a) factors are a lens through which

the Court views the continued validity of the imposed sentence in light of the

COVID-19 pandemic.10

         The crimes of conviction involved Mr. Beckett, along with an associate,

forming a now-

           required anyone who wanted to join the gang to either be beaten or to

commit a robbery. The crimes of conviction involved direct actions of two new

members of the gang. On three days in January 2001, the two new members,

using guns provided by Mr. Beckett, robbed a motel in Anchorage. 11 By the time

Mr. Beckett was sentenced in this case, he had three cases pending in Alaska



     residence and dragged the victims from their bed. Immediately thereafter, while


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one GTS member pointed a firearm, another GTS member hit the victims with a

pipe or baseball bat. In a particularly vicious act, another GTS member punched




                   Release Investigation in this case interviewed Jonathan and

Barbara Hall, a Florida couple with whom Mr. Beckett proposes living if he were

released.13 The Probation Officer also conferred with the U.S. Probation Office for

the Middle District of Florida, which would be responsible for supervising Mr.




                                                                      plan because

                                                                          Thus, Mr.

Beckett does not have an approved release plan or approved residence where he

could quarantine

      not address this issue.




     se                                 The Court agrees and finds that reduction of



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                                                    would not reflect the nature and

circumstances of the offenses, the history and characteristics of Mr. Beckett, or the

seriousness of the offenses; would not promote respect for the law, would not

afford adequate deterrence, would not protect the public, 16 and would not provide

just punishment.17

      Having reconsidered its previous order and determined that modification is

not warranted, IT IS ORDERED that the motion at Docket 624 is DENIED.

      DATED this 11th day of January, 2021, at Anchorage, Alaska.

                                               /s/ Sharon L. Gleason
                                               UNITED STATES DISTRICT JUDGE




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